Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 1 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 2 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 3 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 4 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 5 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 6 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 7 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 8 of 9
Case 24-10246-JCM   Doc 9   Filed 05/22/24 Entered 05/22/24 15:39:54   Desc Main
                            Document      Page 9 of 9
